CaS€ 1217-CV-09975-KBF

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Plaintiff, E_ong Painting Company
_`V..
Defendant_ General E|eotric Company, et aE.

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ORDER OF REFERENCE
TO A MAGISTRATE JUDGE

17»¢;\/-09975 (:<BF ) (Bowi)

 

 

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The above entitled action is referred to the designated Magistrate §udge for the following

purpose(s):

 

General Pretriai (ineludes schedulingj
discoveiy, non-dispositive pretrial
niotions, and settlement)

 

 

Speeifie Non-Dispositive
Motion!l)ispute: *

 

 

 

 

Coiisent under 28 U.S.C. §636(0) for ail
purposes (including trial)

 

 

 

Consent under 28 U.S.C. §636(€) for limited
purpose (e.g., dispositive motion,
preliminary injunction)

Purpose:

 

 

 

 

 

Habeas Corpus

 

 

 

If referral is for discovery disputes Wlien
the Distriet Judge is unavailable, the time

period of the referral:

 

S ettleinent*

 

 

 

 

 

inquest After Default/Dainages Heai'ing

Social Security

 

 

Dispositive Motion (i.e., motion requiring
a Report and Recommendation)
Partieular Motion:

 

 

 

 

 

All such motions:

 

*Do not cheek ifalreziriy referred for general pretrinl.

Dated 311/2018

SO ORDER_ED:

United States District Judge

 

